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    ORDERED in the Southern District of Florida on July 9, 2018.




                                                        John K. Olson, Judge
                                                        United States Bankruptcy Court
_____________________________________________________________________________

                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

   In re:
                                                        Case No.: 18-18153-JKO

            Donna Frances Wilder,

                                                        Chapter   7
                           Debtor.
   _____________________________________/

                ORDER DISMISSING CASE WITH 180-DAY PREJUDICE PERIOD

            THIS CASE is before the Court sua sponte.    It has come to the attention of the Court that

   the Chapter 7 Voluntary Petition [ECF 1] was filed in violation of this Court’s Order in case 18-

   11115-JKO which dismissed that case with a prejudice period of 180-days on April 3, 2018 [ECF

   26 in that case]. Accordingly, it is hereby ORDERED that

            1) This case is DISMISSED with a 180-day prejudice period, and

            2) The Application for Waiver of Chapter 7 Filing Fee [ECF 6] is DENIED AS MOOT.

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   Copies to:       All Parties in Interest
